     Case 19-42266               Doc 1         Filed 04/12/19                   Entered 04/12/19 08:53:23                       Main Document
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                                                                              Pg 1 of 66
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF MISSOURI

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Mark                                                   Nina
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or
     passport).                        Middle Name                                            Middle Name

                                       Vogel                                                  Vogel
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   0        1       4    1   xxx – xx –                   9         0        8      0
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     Mark Vogel
Debtor 2     Nina Vogel                                                                       Case number (if known)

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                      I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in          Business name                                                Business name
     the last 8 years
                                     Business name                                                Business name
     Include trade names and
     doing business as names
                                     Business name                                                Business name

                                                  –                                                           –
                                     EIN                                                          EIN

                                                  –                                                           –
                                     EIN                                                          EIN
5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                     9743 Mansfield Drive
                                     Number       Street                                          Number      Street




                                     Saint Louis                     MO       63132
                                     City                            State    ZIP Code            City                           State    ZIP Code

                                     Saint Louis
                                     County                                                       County

                                     If your mailing address is different from                    If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                     court will send any notices to you at this                   will send any notices to you at this mailing
                                     mailing address.                                             address.



                                     Number       Street                                          Number      Street


                                     P.O. Box                                                     P.O. Box


                                     City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing            Check one:                                                   Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this                   Over the last 180 days before filing this
                                             petition, I have lived in this district longer              petition, I have lived in this district longer
                                             than in any other district.                                 than in any other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13



Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Mark Vogel
Debtor 2     Nina Vogel                                                               Case number (if known)

8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 No
     bankruptcy within the
     last 8 years?                      Yes.

                                   District E.D. of Missouri                              When 10/12/2010         Case number 10-51774
                                                                                                 MM / DD / YYYY
                                   District E.D. of Missouri                              When 08/17/2013         Case number 13-47587
                                                                                                 MM / DD / YYYY

                                   District E.D. of Missouri                              When 12/03/2015         Case number 15-49057
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                   Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an              District                                               When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                   Debtor                                                             Relationship to you

                                   District                                               When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.    Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it as part of this bankruptcy petition.




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Mark Vogel
Debtor 2     Nina Vogel                                                                Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1     Mark Vogel
Debtor 2     Nina Vogel                                                                  Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
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Debtor 1     Mark Vogel
Debtor 2     Nina Vogel                                                                   Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you         16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                     as "incurred by an individual primarily for a personal, family, or household purpose."
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                      16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                      16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                               No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                             No
    are paid that funds will be
                                                        Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                    1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                    50-99                            5,001-10,000                       50,001-100,000
    owe?                                     100-199                          10,001-25,000                      More than 100,000
                                             200-999

19. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                  $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                                $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to             $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                      $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Mark Vogel
Debtor 2     Nina Vogel                                                            Case number (if known)


 Part 7:      Sign Below
For you                       I have examined this petition, and I declare under penalty of perjury that the information provided is true
                              and correct.

                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                              or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                              proceed under Chapter 7.

                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                              fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                              I understand making a false statement, concealing property, or obtaining money or property by fraud in
                              connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                              or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                              X /s/ Mark Vogel                                            X /s/ Nina Vogel
                                   Mark Vogel, Debtor 1                                      Nina Vogel, Debtor 2

                                   Executed on 04/06/2019                                    Executed on 04/06/2019
                                               MM / DD / YYYY                                            MM / DD / YYYY




Official Form 101                    Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1     Mark Vogel
Debtor 2     Nina Vogel                                                                Case number (if known)

For your attorney, if you are      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by      the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need       certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                 is incorrect.



                                   X /s/ Douglas M. Heagler                                              Date 04/06/2019
                                        Signature of Attorney for Debtor                                      MM / DD / YYYY


                                        Douglas M. Heagler
                                        Printed name
                                        Heagler Law Firm
                                        Firm Name
                                        901 Boones Lick, Ste. 100
                                        Number         Street




                                        Saint Charles                                            MO              63301
                                        City                                                     State           ZIP Code


                                        Contact phone (636) 278-2778                   Email address dheagler@freshstartbk.com


                                        115112
                                        Bar number                                               State




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                           page 8
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  Fill in this information to identify your case:
  Debtor 1             Mark                                         Vogel
                       First Name            Middle Name            Last Name

  Debtor 2            Nina                                          Vogel
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                               $4,589.00           $750,000.00            $4,589.00
Baytech corp
Creditor's name
                                                 9743 Mansfield Residence
5923 Witt St.
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Saint Louis              MO      63140               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Credit issued
   to a community debt
Date debt was incurred           2008            Last 4 digits of account number        x     x    x    x




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                 $4,589.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor 2      Nina Vogel                                                                  Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $240,000.00             $750,000.00       $109,943.89
Bremen Bank and Trust                         9743 Mansfield Residence
Creditor's name
3529 N. Broadway
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Saint Louis             MO      63147             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                mortgage security
   to a community debt
Date debt was incurred          2004          Last 4 digits of account number        2     5    1    0

  2.3                                         Describe the property that
                                              secures the claim:                                $538.00            $750,000.00           $538.00
Laclede gas
Creditor's name
                                              9743 Mansfield Residence
Rm 1215 c/o Bankruptcy
Number     Street
720 Olive St.
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
St. Louis               MO      63101             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                utility credit
   to a community debt
Date debt was incurred          2008          Last 4 digits of account number        x     x    x    x




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $240,538.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
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Debtor 1      Mark Vogel
Debtor 2      Nina Vogel                                                                  Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $2,762.93           $750,000.00         $2,762.93
MSD                                           9743 Mansfield Residence
Creditor's name
Attn: Bankruptcy
Number     Street
2350 Market Street
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
St. Louis               MO      63103             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                utility lien on property
   to a community debt
Date debt was incurred                        Last 4 digits of account number

  2.5                                         Describe the property that
                                              secures the claim:                           $619,943.89             $750,000.00
ONEWEST BANK
Creditor's name
                                              9743 Mansfield Residence
6900 BEATRICE DR
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
KALAMAZOO               MI      49009             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred          11/18/2005    Last 4 digits of account number        9     4    3    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $622,706.82

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
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Debtor 1      Mark Vogel
Debtor 2      Nina Vogel                                                                  Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                            $92,027.00                    $0.00       $92,027.00
ONEWEST BANK                                  9743 Mansfield Residence
Creditor's name
6900 BEATRICE DR
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
KALAMAZOO               MI      49009             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Arrearage claim
   to a community debt
Date debt was incurred          Various       Last 4 digits of account number        9     4    3    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $92,027.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $959,860.82

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4
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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                              Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Gusdorf Law Firm                                                       On which line in Part 1 did you enter the creditor?          2.4
        Name
        225 South Meramec Avenue                                               Last 4 digits of account number
        Number       Street
        Suite 1220


        St. Louis                                MO      63105
        City                                     State   ZIP Code

  2
        Shapiro and Weisman                                                    On which line in Part 1 did you enter the creditor?          2.5
        Name
        13801 Riverport Dr.                                                    Last 4 digits of account number        x    x    x      x
        Number       Street
        Ste. 502


        Maryland Heights                         MO      63043
        City                                     State   ZIP Code
        Foreclosure firm for Aug 27, 2013 sale date

  3
        Shapiro and Weisman, L.C.                                              On which line in Part 1 did you enter the creditor?          2.5
        Name
        502 Earth City Expressway, Ste 317                                     Last 4 digits of account number
        Number       Street




        Earth City                               MO      63045
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5
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  Fill in this information to identify your case:
  Debtor 1             Mark                                         Vogel
                       First Name            Middle Name            Last Name

  Debtor 2            Nina                                          Vogel
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $14,540.00         $10,366.90             $4,173.10
IRS
Priority Creditor's Name                                   Last 4 digits of account number        0     1    4      1
Insolvency                                                 When was the debt incurred?          2007-2012
Number       Street
P.O. Box 66778                                             As of the date you file, the claim is: Check all that apply.
Stop 5334STL                                                   Contingent
                                                               Unliquidated
St. Louis                       MO      63166                  Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                        Total claim       Priority           Nonpriority
previous page.                                                                                                     amount             amount


   2.2                                                                                                 $250.00                $0.00       $250.00
Missouri Department of Revenue
Priority Creditor's Name                               Last 4 digits of account number       0     1    4      1
Bankruptcy Unit                                        When was the debt incurred?        2008-2013
Number       Street
P.O. Box 475                                           As of the date you file, the claim is: Check all that apply.
301 W. High Street                                         Contingent
                                                           Unliquidated
Jefferson City              MO      65105-0475             Disputed
City                        State   ZIP Code
Who incurred the debt? Check one.                      Type of PRIORITY unsecured claim:
     Debtor 1 only                                        Domestic support obligations
     Debtor 2 only                                        Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                           Claims for death or personal injury while you were
     At least one of the debtors and another              intoxicated
     Check if this claim is for a community debt          Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2
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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                       Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $803.80
Abbott Services                                             Last 4 digits of account number         0 5        8     2
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2007
2500 Abbott Place
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Saint Louis                     MO      63143
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit issued
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $100.00
ACCOUNT RESOLUTION COR                                      Last 4 digits of account number         2 5 9            6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           03/25/2010
17600 CHESTERFIELD AIRPO
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
CHESTERFIELD                    MO      63005
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collection
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3
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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.3                                                                                                                                    $880.00
Airgas Mid-america                                       Last 4 digits of account number      2 1 4           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008-2009
P.O. Box 1117
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Bowling Green                 KY      42102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                    $471.00
AMCOL SYSTEMS INC                                        Last 4 digits of account number      9 0 0           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/27/2010
111 LANCEWOOD RD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
COLUMBIA                      SC      29210
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                    $806.39
Ameren UE                                                Last 4 digits of account number      9 1        2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
P.O. Box 66700
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63166-6700
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           utility
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4
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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.6                                                                                                                                  $1,106.48
Ashley Funding Services                                  Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2010
P.O. Box 10587
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29603
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                    $996.00
ASSET ACCEPTANCE LLC                                     Last 4 digits of account number      2 9 1           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/04/2007
PO BOX 2036
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
WARREN                        MI      48090
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                  $4,984.00
Baytech corp                                             Last 4 digits of account number      x x x           x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008-2009
5923 Witt St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63140
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

   4.9                                                                                                                                    $336.84
Bcs Mf, Ooc                                              Last 4 digits of account number          x x         x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008-2009
4215 Tholozan
Number        Street                                     As of the date you file, the claim is: Check all that apply.
63116                                                        Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                    $799.33
Berkely lumber                                           Last 4 digits of account number      5 7        2    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
9330 Natural Bridge Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63134
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           xxxx
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.11                                                                                                                                      $0.00
Bremen Bank and Trust                                    Last 4 digits of account number      8 2        6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2004
3529 N. Broadway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63147
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           mortgage security
Is the claim subject to offset?
     No
     Yes
This debt is secured by property not held by the Petitioners, but instead by an LLC owned by the Petitioners.

  4.12                                                                                                                                $25,000.00
Bremen Bank and Trust                                    Last 4 digits of account number      8 2        6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2004
3529 N. Broadway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63147
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           mortgage security
Is the claim subject to offset?
     No
     Yes
Debt is secured by property at 3903-3939 Dalton Industrial Court. This property is owned by Vogel Properties LLC, which in
turn is owned by the Petitioners.




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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.13                                                                                                                                $64,500.00
Bremen Bank and Trust                                    Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2010
3529 N. Broadway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63147
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Foreclosure deficiency
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                    $668.00
Brentwood Fire Dept.                                     Last 4 digits of account number      1 9        8    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
P.o. Box 798126
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes

  4.15                                                                                                                                    $138.00
CAP ONE                                                  Last 4 digits of account number      5 7 0           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/31/2001
PO BOX 85520
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
RICHMOND                      VA      23285
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unknown Loan Type
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.16                                                                                                                                    $125.00
Center for diagnostic imaging                            Last 4 digits of account number      0 9        6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
450 New Ballas
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63141
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                    $519.00
Central Financial Control                                Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
P.O. Box 66044
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Anaheim                       CA      92816
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection for medical
Is the claim subject to offset?
     No
     Yes

  4.18                                                                                                                                    $520.00
CENTRAL FINL CONTROL                                     Last 4 digits of account number      3 4 1           3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/12/2007
PO BOX 66051
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
ANAHEIM                       CA      92816
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.19                                                                                                                                    $713.00
City of Olivette                                         Last 4 digits of account number      0 4        5    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
9475 Olive Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63132
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                    $150.00
CONSUMER ADJUSTMENT CO                                   Last 4 digits of account number      9 3 7           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/17/2009
12855 TESSON FERRY RD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
SAINT LOUIS                   MO      63128
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.21                                                                                                                                    $149.00
Consumer Adjustment Co                                   Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
4121 Union Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 201                                                    Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63129
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection for Ameren UE
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.22                                                                                                                                    $100.00
CONSUMER COLLECTION                                      Last 4 digits of account number      1 3 4           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/01/2006
2333 GRISSOM
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
MARYLAND HEIGHTS MO                   63043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Government Secured Direct Loan
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                     $66.00
CREDIT MANAGEMENT LP                                     Last 4 digits of account number      2 4 5           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/25/2009
4200 INTERNATIONAL PKWY
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
CARROLLTON                    TX      75007
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.24                                                                                                                                     $73.00
CREDIT PROTECTION ASSO                                   Last 4 digits of account number      8 5 5           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/19/2007
13355 NOEL RD STE 2100
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
DALLAS                        TX      75240
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.25                                                                                                                                     $73.00
CYBRCOLLECT INC                                          Last 4 digits of account number      7 C Y           B
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/06/2007
2350 SOUTH AVE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
LA CROSSE                     WI      54601
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                  $2,360.00
Dcs                                                      Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
P.O. Box 510139
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63151
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.27                                                                                                                                  $3,926.00
DISCOVER FIN SVCS LLC                                    Last 4 digits of account number      5 4 9           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/24/1999
PO BOX 15316
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
WILMINGTON                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.28                                                                                                                                      $0.00
EDDIE BAUER                                              Last 4 digits of account number      7 9 7           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/03/1996
101 CROSSWAY PARK WEST
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
WOODBURY                      NY      11797
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                    $492.00
ENHANCED RECOVERY CO L                                   Last 4 digits of account number      1 3 7           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/18/2010
8014 BAYBERRY RD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
JACKSONVILLE                  FL      32256
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.30                                                                                                                                      $0.00
Fendelman, Paull and Ass., LLC                           Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
101 S. Hanley, Ste. 1200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63105
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

  4.31                                                                                                                                    $242.00
FIRSTSOURCE FIN SOLUTI                                   Last 4 digits of account number      4 6 9           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/09/2010
7650 MAGNA DR
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
BELLEVILLE                    IL      62223
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                      $0.00
FRALICX , RONALD R                                       Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
123 Millwell Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Maryland Heights              MO      63043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only (schilli plastering)
Is the claim subject to offset?
     No
     Yes

  4.33                                                                                                                                  $3,000.00
Frontenac engineering                                    Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2008
16 sunnen Dr., Ste. 165
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63143
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Cedit issued
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.34                                                                                                                                    $181.00
Hilton Head Ererg. Phys                                  Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
25 Hospital Center Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Hilton Head Island            SC      29926
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes

  4.35                                                                                                                                      $0.00
Hinshaw Culbertson                                       Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2011
701 Market St.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only (Bremen Bank and Trust)
Is the claim subject to offset?
     No
     Yes

  4.36                                                                                                                                      $0.00
Ibo credit services                                      Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
1100 Charles Avenue, Ste. 200
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dunbar                        WV      25064
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection for Airgas mid-america
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

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                                                                                                                                     Total claim
previous page.

  4.37                                                                                                                                      $0.00
Kenneth P. Carp                                          Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
230 S. Bemiston, Ste. 410
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63105
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection for Baytech Corp.
Is the claim subject to offset?
     No
     Yes

  4.38                                                                                                                                    $500.00
Laclede gas                                              Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2006
Rm 1215 c/o Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
720 Olive St.                                                Contingent
                                                             Unliquidated
                                                             Disputed
St. Louis                     MO      63101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           utility credit
Is the claim subject to offset?
     No
     Yes

  4.39                                                                                                                                    $375.00
Ladue Family Dental                                      Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
9216 Clayton Rd., Ste. 110
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63124
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.40                                                                                                                                    $132.00
Lelu metalcraft                                          Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
13200 MANCHESTER RD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
SAINT LOUIS                   MO      63131
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes

  4.41                                                                                                                                  $1,034.00
LVNV Funding                                             Last 4 digits of account number      x x x           x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008-2009
P.O. Box 10584
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29603
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only for Home depot
Is the claim subject to offset?
     No
     Yes

  4.42                                                                                                                                  $4,300.00
LVNV FUNDING LLC                                         Last 4 digits of account number      9 0 1           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/23/2008
PO BOX 740281
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HOUSTON                       TX      77274
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.43                                                                                                                                    $277.00
MCA MGMNT CO                                             Last 4 digits of account number      0 9 9           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.44                                                                                                                                    $277.00
MCA MGMNT CO                                             Last 4 digits of account number      0 9 9           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.45                                                                                                                                    $277.00
MCA MGMNT CO                                             Last 4 digits of account number      0 9 9           9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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previous page.

  4.46                                                                                                                                    $261.00
MCA MGMNT CO                                             Last 4 digits of account number      1 0 0           3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.47                                                                                                                                    $152.00
MCA MGMNT CO                                             Last 4 digits of account number      1 0 0           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.48                                                                                                                                    $138.00
MCA MGMNT CO                                             Last 4 digits of account number      0 9 9           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.49                                                                                                                                    $113.00
MCA MGMNT CO                                             Last 4 digits of account number      1 0 0           2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.50                                                                                                                                    $277.00
MCA MGMNT CO                                             Last 4 digits of account number      1 0 0           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.51                                                                                                                                    $277.00
MCA MGMNT CO                                             Last 4 digits of account number      1 0 0           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.52                                                                                                                                    $277.00
MCA MGMNT CO                                             Last 4 digits of account number      1 0 0           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.53                                                                                                                                    $277.00
MCA MGMNT CO                                             Last 4 digits of account number      1 0 0           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.54                                                                                                                                    $272.00
MCA MGMNT CO                                             Last 4 digits of account number      0 9 9           6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.55                                                                                                                                    $377.58
Md Pharmacy                                              Last 4 digits of account number      1 9        1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
8500 Delmar Blvd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63124
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes

  4.56                                                                                                                                     $50.00
MEDICAL COMMERCIAL A                                     Last 4 digits of account number      1 0 0           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/01/2007
2797A HIGH RIDGE BOULEVARD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HIGH RIDGE                    MO      63049
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.57                                                                                                                                    $630.00
Mercy burn and Plastic Surgery                           Last 4 digits of account number      3 5        1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2007
P.O. Box 502852
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63150
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.58                                                                                                                                      $0.00
Mercy Hospital                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 504856
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63150
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes

  4.59                                                                                                                                  $1,050.00
Merlen Stelzer Sales Co.                                 Last 4 digits of account number      4 7 2           8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008-2009
4109 Papin Ave.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63110
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes

  4.60                                                                                                                                    $976.00
MSCB INC                                                 Last 4 digits of account number      2 0 6           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/14/2009
1410 INDUSTRIAL PARK RD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PARIS                         TN      38242
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

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                                                                                                                                     Total claim
previous page.

  4.61                                                                                                                                    $389.00
MSCB INC                                                 Last 4 digits of account number      1 0 7           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/12/2009
1410 INDUSTRIAL PARK RD
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PARIS                         TN      38242
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.62                                                                                                                                  $1,505.22
Mssd                                                     Last 4 digits of account number      1 6        3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2007
P.O. Box 437
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63166
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.63                                                                                                                                    $180.00
NCO FIN /99                                              Last 4 digits of account number      6 9 1           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/16/2007
POB 41466
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PHILADELPHIA                  PA      19101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.64                                                                                                                                    $242.00
NCO-MEDCLR                                               Last 4 digits of account number      2 6 4           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/05/2007
PO BOX 8547
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PHILADELPHIA                  PA      19101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.65                                                                                                                                    $180.00
NCO-MEDCLR                                               Last 4 digits of account number      1 1 9           3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/03/2008
PO BOX 8547
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
PHILADELPHIA                  PA      19101
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.66                                                                                                                                    $409.10
Negwar materials                                         Last 4 digits of account number      9 3        7    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
49 Airport Rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.67                                                                                                                                      $0.00
Norman and Assoc                                         Last 4 digits of account number      7 9        5    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2007
1350 Union Hill Rd., Ste. A
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Alpharetta                    GA      30004
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection for Sherwin Williams
Is the claim subject to offset?
     No
     Yes

  4.68                                                                                                                                    $125.00
Oreo and Bolta                                           Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
8526 Delport
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63146
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credigt issued
Is the claim subject to offset?
     No
     Yes

  4.69                                                                                                                                    $105.00
PACIFIC CREDIT SERVICE                                   Last 4 digits of account number      9 3 0           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/23/2006
5700 188TH ST SW UNIT B
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
LYNNWOOD                      WA      98037
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.70                                                                                                                                     $91.00
PAYLIANCE                                                Last 4 digits of account number      5 2 4           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/16/2007
2612 JACKSON AVE W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
OXFORD                        MS      38655
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.71                                                                                                                                     $55.00
PAYLIANCE                                                Last 4 digits of account number      3 4 8           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/14/2008
2612 JACKSON AVE W
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
OXFORD                        MS      38655
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.72                                                                                                                                  $1,045.44
Portfolio Acquisitions, LLC                              Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2010
P.O. Box 3001
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Malvern                       PA      19355
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                     Total claim
previous page.

  4.73                                                                                                                                    $195.00
Quest Diagnostics                                        Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
P.O. Box 740698
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      45274
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes

  4.74                                                                                                                                      $0.00
Resurgent Capital Services                               Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2010
P.O. Box 10465
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Greenville                    SC      29603
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.75                                                                                                                                $15,448.00
Ronald Borgman                                           Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2015
7711 Bonhomme Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ste. 850                                                     Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63105
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Notice Only
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.76                                                                                                                                    $485.00
Schilli Plastering                                       Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
123 Milwell Dr.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Maryland Heights              MO      63043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes

  4.77                                                                                                                                  $2,163.00
Sherwin Williams                                         Last 4 digits of account number      7 9        5    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
2145 Schuetz rd.
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63146
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit issued
Is the claim subject to offset?
     No
     Yes

  4.78                                                                                                                                    $471.00
St. Johns Mercy                                          Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2010
615 s. New Ballas
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63141
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.79                                                                                                                                    $492.00
St. Johns Mercy Healthcare                               Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2009
P.O. Box 6424
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Chesterfield                  MO      63017
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes

  4.80                                                                                                                                      $0.00
St. Louis County                                         Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2012
Personal Property
Number        Street                                     As of the date you file, the claim is: Check all that apply.
41 S. Central                                                Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63105
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Taxes - notice only
Is the claim subject to offset?
     No
     Yes

  4.81                                                                                                                                    $150.00
St. Lukes Hospital - urgent care                         Last 4 digits of account number      x x        x    x
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2013
P.O. Box 500223
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63150
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.82                                                                                                                                    $373.00
TALBOTS                                                  Last 4 digits of account number      6 2 7           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/25/1999
175 BEAL ST
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
HINGHAM                       MA      02043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.83                                                                                                                                    $292.00
TRIDENTASSET.COM                                         Last 4 digits of account number      1 8 3           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/02/2006
5755 NORTHPOINT PKWY STE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
ALPHARETTA                    GA      30022
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes

  4.84                                                                                                                                      $0.00
TRIDENTASSET.COM                                         Last 4 digits of account number      3 0 3           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/04/2006
5755 NORTHPOINT PKWY STE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
ALPHARETTA                    GA      30022
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection
Is the claim subject to offset?
     No
     Yes


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Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                     Total claim
previous page.

  4.85                                                                                                                                      $0.00
UMB BANK NA                                              Last 4 digits of account number      7 7 8           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/26/1983
PO BOX 419734
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
KANSAS CITY                   MO      64141
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unknown Loan Type
Is the claim subject to offset?
     No
     Yes

  4.86                                                                                                                                    $100.50
Wcp Laboratories                                         Last 4 digits of account number      8 6        6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2008
P.O. Box 60013
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Louis                   MO      63160
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           medical
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                         page 32
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                                                             Pg 46 of 66
Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                                  Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Ronald Borgman                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
7711 Bonhomme Avenue                                        Line   4.75 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
Ste. 850                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Saint Louis                     MO      63105
City                            State   ZIP Code


Sandberg, Phoenix                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
First City Centre                                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
15th Floor                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Saint Louis                     MO      63101
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 33
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                                                             Pg 47 of 66
Debtor 1       Mark Vogel
Debtor 2       Nina Vogel                                                              Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.             $14,790.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $14,790.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $151,074.68


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $151,074.68




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 34
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                                                            Pg 48 of 66
 Fill in this information to identify your case:
 Debtor 1            Mark                                        Vogel
                     First Name           Middle Name            Last Name

 Debtor 2            Nina                                        Vogel
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Mark                                        Vogel
                     First Name           Middle Name            Last Name

 Debtor 2            Nina                                        Vogel
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
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                                                           Pg 50 of 66
 Fill in this information to identify your case:
 Debtor 1           Mark                                     Vogel
                    First Name            Middle Name        Last Name

 Debtor 2            Nina                                    Vogel
 (Spouse, if filing) First Name           Middle Name        Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Mark Vogel                                        X /s/ Nina Vogel
        Mark Vogel, Debtor 1                                   Nina Vogel, Debtor 2

        Date 04/06/2019                                        Date 04/06/2019
             MM / DD / YYYY                                         MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
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         Read These Important Warnings

         Because bankruptcy can have serious long-term financial and legal consequences, including loss of
         your property, you should hire an attorney and carefully consider all of your options before you file.
         Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
         and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
         properly and protect you, your family, your home, and your possessions.

         Although the law allows you to represent yourself in bankruptcy court, you should understand that
         many people find it difficult to represent themselves successfully. The rules are technical, and a
         mistake or inaction may harm you. If you file without an attorney, you are still responsible for
         knowing and following all of the legal requirements.

         You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
         necessary documents.

         Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
         bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
         fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
         to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                 Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                    repay your creditors all or part of the money that you owe
            or fishermen                                         them, usually using your future earnings. If the court
                                                                 approves your plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or 5 years,
         $200   filing fee                                       depending on your income and other factors.
+         $75   administrative fee
                                                                 After you make all the payments under your plan, many
         $275   total fee
                                                                 of your debts are discharged. The debts that are not
                                                                 discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                 include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
           $235    filing fee
    +       $75    administrative fee
                                                                     most criminal fines and restitution obligations,
           $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                            EASTERN DISTRICT OF MISSOURI
                                                                  ST. LOUIS DIVISION
In re Mark Vogel                                                                                                                    Case No.
      Nina Vogel
                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $2,300.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                   $400.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $1,900.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                     04/06/2019                       /s/ Douglas M. Heagler
                        Date                          Douglas M. Heagler                         Bar No. 115112
                                                      Heagler Law Firm
                                                      901 Boones Lick, Ste. 100
                                                      Saint Charles, MO 63301
                                                      Phone: (636) 278-2778 / Fax: (866) 371-9155




    /s/ Mark Vogel                                                  /s/ Nina Vogel
   Mark Vogel                                                      Nina Vogel
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                                      UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MISSOURI
                                              ST. LOUIS DIVISION
  IN RE:   Mark Vogel                                                                  CASE NO
           Nina Vogel
                                                                                   CHAPTER       13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/6/2019                                            Signature    /s/ Mark Vogel
                                                                     Mark Vogel



Date 4/6/2019                                            Signature    /s/ Nina Vogel
                                                                     Nina Vogel
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                          Abbott Services
                          2500 Abbott Place
                          Saint Louis, MO 63143



                          ACCOUNT RESOLUTION COR
                          17600 CHESTERFIELD AIRPO
                          CHESTERFIELD, MO 63005



                          Airgas Mid-america
                          P.O. Box 1117
                          Bowling Green, KY 42102



                          AMCOL SYSTEMS INC
                          111 LANCEWOOD RD
                          COLUMBIA, SC 29210



                          Ameren UE
                          P.O. Box 66700
                          St. Louis, MO 63166-6700



                          Ashley Funding Services
                          P.O. Box 10587
                          Greenville, SC 29603



                          ASSET ACCEPTANCE LLC
                          PO BOX 2036
                          WARREN, MI 48090



                          Baytech corp
                          5923 Witt St.
                          Saint Louis, MO 63140



                          Bcs Mf, Ooc
                          4215 Tholozan
                          63116
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                          Berkely lumber
                          9330 Natural Bridge Rd.
                          Saint Louis, MO 63134



                          Bremen Bank and Trust
                          3529 N. Broadway
                          Saint Louis, MO 63147



                          Brentwood Fire Dept.
                          P.o. Box 798126
                          Saint Louis, MO 63179



                          CAP ONE
                          PO BOX 85520
                          RICHMOND, VA 23285



                          Center for diagnostic imaging
                          450 New Ballas
                          Saint Louis, MO 63141



                          Central Financial Control
                          P.O. Box 66044
                          Anaheim, CA 92816



                          CENTRAL FINL CONTROL
                          PO BOX 66051
                          ANAHEIM, CA 92816



                          City of Olivette
                          9475 Olive Blvd.
                          Saint Louis, MO 63132



                          CONSUMER ADJUSTMENT CO
                          12855 TESSON FERRY RD
                          SAINT LOUIS, MO 63128
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                          Consumer Adjustment Co
                          4121 Union Rd
                          Suite 201
                          Saint Louis, MO 63129


                          CONSUMER COLLECTION
                          2333 GRISSOM
                          MARYLAND HEIGHTS, MO 63043



                          CREDIT MANAGEMENT LP
                          4200 INTERNATIONAL PKWY
                          CARROLLTON, TX 75007



                          CREDIT PROTECTION ASSO
                          13355 NOEL RD STE 2100
                          DALLAS, TX 75240



                          CYBRCOLLECT INC
                          2350 SOUTH AVE
                          LA CROSSE, WI 54601



                          Dcs
                          P.O. Box 510139
                          Saint Louis, MO 63151



                          DISCOVER FIN SVCS LLC
                          PO BOX 15316
                          WILMINGTON, DE 19850



                          EDDIE BAUER
                          101 CROSSWAY PARK WEST
                          WOODBURY, NY 11797



                          ENHANCED RECOVERY CO L
                          8014 BAYBERRY RD
                          JACKSONVILLE, FL 32256
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                          Fendelman, Paull and Ass., LLC
                          101 S. Hanley, Ste. 1200
                          Saint Louis, MO 63105



                          FIRSTSOURCE FIN SOLUTI
                          7650 MAGNA DR
                          BELLEVILLE, IL 62223



                          FRALICX , RONALD R
                          123 Millwell Dr.
                          Maryland Heights, MO 63043



                          Frontenac engineering
                          16 sunnen Dr., Ste. 165
                          Saint Louis, MO 63143



                          Gusdorf Law Firm
                          225 South Meramec Avenue
                          Suite 1220
                          St. Louis, MO 63105


                          Hilton Head Ererg. Phys
                          25 Hospital Center Blvd.
                          Hilton Head Island, SC 29926



                          Hinshaw Culbertson
                          701 Market St.
                          Saint Louis, MO 63101



                          Ibo credit services
                          1100 Charles Avenue, Ste. 200
                          Dunbar, WV 25064



                          IRS
                          Insolvency
                          P.O. Box 66778
                          Stop 5334STL
                          St. Louis, MO 63166
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                          Kenneth P. Carp
                          230 S. Bemiston, Ste. 410
                          Saint Louis, MO 63105



                          Laclede gas
                          Rm 1215 c/o Bankruptcy
                          720 Olive St.
                          St. Louis, MO 63101


                          Ladue Family Dental
                          9216 Clayton Rd., Ste. 110
                          Saint Louis, MO 63124



                          Lelu metalcraft
                          13200 MANCHESTER RD
                          SAINT LOUIS, MO 63131



                          LVNV Funding
                          P.O. Box 10584
                          Greenville, SC 29603



                          LVNV FUNDING LLC
                          PO BOX 740281
                          HOUSTON, TX 77274



                          MCA MGMNT CO
                          2797A HIGH RIDGE BOULEVARD
                          HIGH RIDGE, MO 63049



                          Md Pharmacy
                          8500 Delmar Blvd.
                          Saint Louis, MO 63124



                          MEDICAL COMMERCIAL A
                          2797A HIGH RIDGE BOULEVARD
                          HIGH RIDGE, MO 63049
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                          Mercy burn and Plastic Surgery
                          P.O. Box 502852
                          Saint Louis, MO 63150



                          Mercy Hospital
                          P.O. Box 504856
                          Saint Louis, MO 63150



                          Merlen Stelzer Sales Co.
                          4109 Papin Ave.
                          Saint Louis, MO 63110



                          Missouri Department of Revenue
                          Bankruptcy Unit
                          P.O. Box 475
                          301 W. High Street
                          Jefferson City, MO 65105-0475

                          MSCB INC
                          1410 INDUSTRIAL PARK RD
                          PARIS, TN 38242



                          MSD
                          Attn: Bankruptcy
                          2350 Market Street
                          St. Louis, MO 63103


                          Mssd
                          P.O. Box 437
                          Saint Louis, MO 63166



                          NCO FIN /99
                          POB 41466
                          PHILADELPHIA, PA 19101



                          NCO-MEDCLR
                          PO BOX 8547
                          PHILADELPHIA, PA 19101
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                          Negwar materials
                          49 Airport Rd.
                          Saint Louis, MO 63135



                          Norman and Assoc
                          1350 Union Hill Rd., Ste. A
                          Alpharetta, GA 30004



                          ONEWEST BANK
                          6900 BEATRICE DR
                          KALAMAZOO, MI 49009



                          Oreo and Bolta
                          8526 Delport
                          Saint Louis, MO 63146



                          PACIFIC CREDIT SERVICE
                          5700 188TH ST SW UNIT B
                          LYNNWOOD, WA 98037



                          PAYLIANCE
                          2612 JACKSON AVE W
                          OXFORD, MS 38655



                          Portfolio Acquisitions, LLC
                          P.O. Box 3001
                          Malvern, PA 19355



                          Quest Diagnostics
                          P.O. Box 740698
                          Cincinnati, OH 45274



                          Resurgent Capital Services
                          P.O. Box 10465
                          Greenville, SC 29603
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                          Ronald Borgman
                          7711 Bonhomme Avenue
                          Ste. 850
                          Saint Louis, MO 63105


                          Sandberg, Phoenix
                          First City Centre
                          15th Floor
                          Saint Louis, MO 63101


                          Schilli Plastering
                          123 Milwell Dr.
                          Maryland Heights, MO 63043



                          Shapiro and Weisman
                          13801 Riverport Dr.
                          Ste. 502
                          Maryland Heights, MO 63043


                          Shapiro and Weisman, L.C.
                          502 Earth City Expressway, Ste 317
                          Earth City, MO 63045



                          Sherwin Williams
                          2145 Schuetz rd.
                          Saint Louis, MO 63146



                          St. Johns Mercy
                          615 s. New Ballas
                          Saint Louis, MO 63141



                          St. Johns Mercy Healthcare
                          P.O. Box 6424
                          Chesterfield, MO 63017



                          St. Louis County
                          Personal Property
                          41 S. Central
                          Saint Louis, MO 63105
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                          St. Lukes Hospital - urgent care
                          P.O. Box 500223
                          Saint Louis, MO 63150



                          TALBOTS
                          175 BEAL ST
                          HINGHAM, MA 02043



                          TRIDENTASSET.COM
                          5755 NORTHPOINT PKWY STE
                          ALPHARETTA, GA 30022



                          UMB BANK NA
                          PO BOX 419734
                          KANSAS CITY, MO 64141



                          Wcp Laboratories
                          P.O. Box 60013
                          Saint Louis, MO 63160
